                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 12-2024
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 FRANK NELSON,                                    RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On August 22, 2012, a twelve-count Indictment was returned against the defendant
Frank Nelson and others. On July 1, 2013, the defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered a conditional plea of guilty to the lesser-
included offense in Count 1 of the Indictment. On July 1, 2013, Judge Scoles filed a
Report and Recommendation in which he recommended that the defendant’s conditional
guilty plea be accepted. On July 2, 2013, the parties filed a Waiver of Objections to the
Report and Recommendation. The court, therefore, undertakes the necessary review of
Judge Scoles’s recommendation to accept the defendant’s conditional plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and


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prisoner petitions, where objections are made, as follows:
              The district judge must determine de novo any part of the
              magistrate judge’s disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court accepts Judge Scoles’s Report and Recommendation of July
1, 2013, and accepts the defendant’s conditional plea of guilty in this case to the lesser-
included offense in Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 2nd day of July, 2013.




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